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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KEEPER SECURITY, INC.

                       Plaintiff,                     Case No. 1:17-cv-9117

       v.                                             Hon. Joan Humphrey Lefkow

DAN GOODIN and ADVANCE MAGAZINE
PUBLISHERS INC. d/b/a CONDÉ NAST and
ARS TECHNICA,

                       Defendants.


                           DEFENDANTS’ MOTION TO DISMISS
                           PURSUANT TO FED. R. CIV. P. 12(B)(6)

       Defendants Dan Goodin and Advance Magazine Publishers Inc. (d/b/a Condé Nast and

Ars Technica), by their attorneys, respectfully request that the Court dismiss the Complaint of

Plaintiff Keeper Security, Inc. for failure to state a claim pursuant to Federal Rule of Civil

Procedure 12(b)(6).

       1.      Plaintiff, a software developer, is suing Defendants, a respected online technology

publication and its California-based cybersecurity reporter and editor, based on an news article

(the “Article”) truthfully reporting the findings of a noted Google researcher that there was a

security vulnerability in Plaintiff’s password manager product, Keeper.

       2.      Plaintiff’s Complaint asserts claims for defamation, commercial disparagement

and violation of the Illinois Deceptive Trade Practices Act (“DTPA”), 815 ILCS § 510/2. The

defamation claim fails as a matter of law because the Article is substantially true; subject to an

innocent construction; voices non-actionable opinions, makes statements that are not “of and

concerning” Plaintiff; and Plaintiff does not and cannot plead publication with actual malice as

required by the First Amendment. Plaintiff’s tag-along tort claims fail for the same reasons, and
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also because the Article is not commercial speech and the DTPA only affords injunctive relief

for which there is no basis here.

       3.      Defendants are filing herewith a memorandum of law in support of their motion.

       WHEREFORE, Defendants respectfully request that the Court dismiss Plaintiff’s claims

in their entirety and with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).



Dated: February 8, 2018                              Respectfully submitted,

                                                      /s/ Natalie J. Spears
                                                     One of the attorneys for Defendants

Natalie J. Spears
Gregory R. Naron
Jacqueline A. Giannini
DENTONS US LLP
233 S. Wacker Drive, Suite 5900
Chicago, IL 60606
Tel: (312) 876-8000
Fax: (312) 876-7934
natalie.spears@dentons.com
gregory.naron@dentons.com
jacqui.giannini@dentons.com




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                              CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing DEFENDANTS’ MOTION TO
DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(6) was filed with the Clerk of the Court on
February 8, 2018 by using the CM/ECF system, which will send a notice of electronic filing to
all registered users.




                                                  /s/ Natalie J. Spears
                                                  Natalie J. Spears




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